    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 1 of 12 PageID #: 196




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NEW YORK

        ALBERT E. PERCY as Class Representative and
        Percy Jobs and Careers Corporation an IRC
        501(c)(3) non-profit,
                            Plaintiff,
                                                                COMPLAINT
        -against-
                                                                CASE NO.
                                                                
        ORISKA CORP GENERAL CONTRACTING,
                            Employer Defendant




   TO THE ABOVE NAMED DEFENDANT:
   The Plaintiffs, ALBERT E. PERCY as Class Representative and Percy Jobs
   and Careers Corporation an IRC 501(c)(3) non-profit by their attorney,
   James M. Kernan of the Kernan Professional Group, LLP, states as follows:
                       I.     NATURE OF THIS ACTION
1. .This action against Oriska Corporation General Contracting, (“Employer”),
    involves liability of the Employer for unlawful employment practices of
    discrimination based on Plaintiffs’ ability to meet their burden of production
    and persuasion proving that Plaintiffs demonstrated that there was a less
    discriminatory alternative method of employment practice (“Alternative
    Employment Practice”). Plaintiffs make the demonstration in accordance
    with the law as it existed on June 4, 1989 with respect to an Alternative
    Employment Practice, described in subparagraph (C) referred to by
    subparagraph (A)(ii) of 42 U.S.C. § 2000e-2(k)(1). The Defendant
    respondent has refused to adopt such Alternative Employment Practice
    without valid justification, violating 42 U.S.C. § 2000e-2 of the Civil Rights
    Act of 1964 as amended in 1991.



                                             1
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 2 of 12 PageID #: 197




2. In addition, this action is for breach of contract brought by the Percy Class as
    third-party beneficiaries for violating conditions of contracts, including but
    not limited to Executive Order 11246 (“EO 11246”).
   Precedent, Authority and Jurisdiction
3. This action is grounded on the record in US SDNY Case 73-cv-04279, the case
    file archived as potentially of national significance in St. Louis, Missouri, the
    case file returned from St. Louis to the National Archives in New York City,
    returned upon the request on behalf of Plaintiffs, and certified by the
    National Archives to the United States District Court for the Southern
    District of New York, which record was then filed by ECF as the Docket on
    Appeal to the United States Second Circuit Court of Appeals 17-2273.
4. A lead action (attached hereto as Exhibit “A”) will be filed in the US Federal
    Court for the Eastern District of New York against defendant State of New
    York for failure of settlement involving New York State Executive Order 45
    (9 NYCRR 3.45) (“EO 45”). That action is grounded upon the final and
    enforceable Memorandum/Order (“Memorandum/Order”) of Judge Lasker
    reported at 384 F Supp 800 of November 8, 1974, settled by agreement
    accepting Defendant New York State’s offer of EO 45. The problem is that
    EO 45 failed and the Percy Class was never notified [Exhibit “A” - XII
    DEFENDANT GOVERNOR OF THE STATE OF NEW YORK AND
    DEFENDANT STATE OFFERED A SETTLEMENT OF PERCY V.
    BRENNAN IN CASE 73-CV-04279 THAT IS UNENFORCEABLE AND
    FAILED paragraphs 218 – 224.
5. Liability is for violation of 42 U.S.C. §§2000e-2, rights secured to the Percy
    Class as the Complaining Party, liability of the Employer under the 5th and
    14th Amendments to the United States Constitution, 42 U.S.C. §§§§ 2000e-
    2, 1981, 1983, 1985, and United States EO 11246 for breach of contract where
    such Employer has breached contractual conditions requiring compliance
    with Presidential Executive Order 11246 by failing to affirmatively provide
    equal employment opportunity to members of the Percy Class as third-party
    beneficiaries to contracts with Employers, contracts funded from federal
    funding requiring compliance with the Civil Rights Act, regulations, laws
    and US constitutional provisions recited in EO 11246. Members of the Percy
    Class are beneficiaries specifically identified in contracts as conditions and
                                              2
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 3 of 12 PageID #: 198




   obligations where Federal Funding is involved. These conditions of
   contracts specify compliance with EO 11246.
6. The Alternative Employment Practice under the Civil Rights Act of 1964, and
    specifically 42 USCA §2000e-2 and §2000d as amended in 1991 (the “Civil
    Rights Act”), is delivered with workers’ compensation coverage. All
    employment is required to be covered by workers' compensation. Along with
    the payment of benefits to cover injury and death while on-the-job as
    required in under New York Workers' Compensation Law §10, workers'
    compensation coverage also includes safety training and loss control
    management.
7. Using workers' compensation coverage as the delivery method for the
    Alternative Employment Practice to provide apprenticeship for new hires
    and continuing education for existing employees, the practice provides skills
    to educate workers to competently and safely perform work, protect
    themselves and people with whom they come into contact. Too long
    employees have struggled without being provided the skills necessary to
    protect themselves and the communities they serve, including the general
    public with whom they come in contact.
8. The Percy Program established apprenticeship programs as an Alternative
    Employment Practice to be provided with workers' compensation insurance
    coverage as part of safety management and loss control. All employment is
    covered by workers’ compensation insurance. The Alternative Employment
    Practice set forth at Exhibit “A” - XI. ALTERNATIVE EMPLOYMENT
    PRACTICE" paragraphs 153 – 218, XVI. THE PERCY PROGRAM,
    paragraphs 241 – 274, XVII. COMPONENTS OF PERCY PROGRAM
    paragraphs 275 – 276, XVIII. REGULATORY APPROVALS OF PERCY
    PROGRAM paragraph 277 – 280, incorporates apprentice training into the
    workers’ compensation loss control and safety training of employees, by
    enrolling new entrants to the workforce to work alongside existing
    journeypersons, growing the depth of skilled workers, skilled workers whose
    ranks are being diminished through age and attrition. The workers'
    compensation carrier subsidizes the apprenticeship programs by
    recognizing the savings in reduction of losses which reduces the exposures
    and liabilities of the claims required to be paid by the workers' compensation
                                             3
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 4 of 12 PageID #: 199




   insurance carrier. The Alternative Employment Practice is delivered as a
   function of safety and loss control management with workers’ compensation
   through paid on-the-job apprentice training and continuing education
   involving apprentice training under the Fitzgerald Act (29 U.S.C. §50
   commonly known as the National Apprenticeship Act of 1937, section 1 (29
   U.S.C. 50) under U.S. Department of Labor's Bureau of Apprenticeship and
   Training (BAT) and C.F.R. T. 29, Subt. A, Pt. 29 and Pt. 30, made a part of
   workers' compensation coverage required of all employment.
9. Although the Employers are not named in the original Percy v. Brennan case,
    Case 73-cv-04279. reported at 384 F Supp 800 of November 8, 1974, the
    Employers in fact are required to provide real affirmative action.
10. The Percy Class has been constantly denied access to apprenticeship to gain
    skills to compete for employment, entitling the Percy Class to actual
    damages for lost wages, for lost opportunity compensation, damages also
    affecting members of the Percy Classes’ children and families, significantly
    disadvantaged in education and skills, struggling to get a job.
                                    II.   VENUE
11. The basis of the venue in the United States Federal Court for the Eastern
    District of New York is because a substantial part of the events giving rise to
    the claims made herein occurred in the Eastern District of New York, Albert
    E. Percy resides in the Eastern District of New York, and Plaintiff Percy Class
    is predominately situated in the Eastern District of New York.
                                 III.     PARTIES
   PLAINTIFFS:
12. Plaintiff Albert E. Percy, (“Percy”) certified as the class representative of the
    certified class by Judge Lasker in the Memorandum/Order at 384 F Supp
    800, page 811 [S.D.N.Y. 1974] in Case 73-cv-04279, the Class certified in
    Percy v. Brennan, Federal District Court SDNY Case 73-cv-04279, reported
    at 384 F. Supp 800, at Page 808, docketed in US 2nd Circuit Court of
    Appeals appeal No. 17-2273 Docket #97 page 0003 and Docket #99 page
    640, (the “Percy Class”) is fully capable of learning to perform and/or
    performing skilled occupations as apprentices and journeypersons. Percy,
    as the Complaining Party, a member of the Percy Class, was denied equal
                                              4
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 5 of 12 PageID #: 200




   employment opportunities, and remains a proper representative of the
   Percy Class. Percy’s personal and business interests and the claims
   hereinafter set forth are fully aligned with those of the Class.
13. Standing was found by the Lasker Court in its Memorandum/Order stating
    the Percy Class has alleged “such a personal stake in the outcome of the
    controversy as to assure that concrete adverseness which sharpens the
    presentation of issues upon which the court so largely depends for
    illumination of difficult constitutional questions” citing “Baker v Carr (369
    US 186, 204, 82 S Ct 691, 703, 7 L Ed 2d 663 [1962]); (see Flast v Cohen,
    392 US 83, 101, 88 S Ct 1942, 20 L Ed 2d 947 [1968])”. In Percy v. Brennan,
    black and Spanish-surnamed workers were alleged to “have been and
    continue to be denied employment in the New York construction industry,
    demonstrating the Percy Class continues to have a personal stake”, 384 F
    Supp 800, page 808 [S.D.N.Y. 1974], 17-2273, Docket #99, Appendix 1,
    Volume 3, page 684.
14. The Memorandum/Order of Judge Lasker in the Percy Action, Percy v.
    Brennan, 384 F. Supp. 800, (S.D.N.Y. 1974), page 811 in 17-2273, Docket
    #99, Appendix 1, Volume 3, page 660, granted Plaintiffs motion to be
    maintained as a class and found standing to seek relief for the enforcement
    of EO 11246, as a class of persons that EO 11246 was designed to protect
    from injuries resulting from racial discrimination within the protections of
    the Fifth and Fourteenth Amendments to the Constitution, 42 USC 1981,
    and has met the requirements of subdivisions 2 and 3 of FRCP 23. See also,
    Docket #99, Appendix 1, Volume 3, page 653 in 17-2273.
15. The Class defined and certified by Judge Lasker in Case 73-cv-04279 was
    “all black and Spanish-surnamed persons who are capable of performing, or
    capable of learning to perform, construction work, and who wish to perform
    construction work within the jurisdiction of unions that are members of the
    Defendant Building and Construction Trades Council of Greater New York”
    with Plaintiff Albert Percy designated as the Class Representative (384 F
    Supp 800, at page 811 and also at 17-2273, Docket #99, Appendix 1, Volume
    3, Page 660).
16. The Order certifying the Class in Case 73-cv-04279 is at 17-2273 Docket 97,
    Appendix 1, Volume 3 of 3, page 640
                                            5
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 6 of 12 PageID #: 201




17. Plaintiff Percy Jobs and Careers Corporation is an Internal Revenue Code
    501(c)(3) non-profit managing apprentice training at the Maritime College
    State University Of New York, PO Box 351, 6 Pennyfield Ave, Bronx, NY
    10465.
   DEFENDANT:
18. Defendant Employer, ORISKA CORP GENERAL CONTRACTING is a
    foreign business corporation incorporated in the State of Florida, authorized
    to do business in the State of New York with offices in the State of New York.
                              IV.   NUMEROSITY
19. The number of members of the Percy Class are essentially unenumerable
    but are not indeterminate as certified in the Percy v. Brennan action Case
    73-cv-04279 being enforced here.
20. The Class defined and certified by Judge Lasker, as all black and Spanish
    surnamed persons residing in and about the City of New York is an
    extremely large and unwieldy class. To identify the Class, Percy counsel has
    caused to be sent out long overdue Notices of Settlement as Notices of
    Enforcement of the Settlement of [Percy v. Brennan Case 73-cv-04279.
21. Included in the mailing was a Notice of Enforcement Action to the Class of
    enforcement of the Percy v. Brennan Settlement in Case 73-cv-04279 and
    the Alternative Employment Practice demonstrated to and urged that the
    Employer Defendants adopt.
22. This identification is to provide specificity of the members of the Percy Class
    who would be entitled to relief.
               V.    COMMON ISSUES OF LAW AND FACT
23. The issues of law and fact determining the claims of the Percy Class, that the
    actions of the Defendant State and its DFS and the Employers named in this
    action, have caused, are causing, and will continue to cause serious,
    permanent and irreparable economic and social injury and damage to the
    Percy Class, are common to all members of the Class.
24. The common issues of law and fact must be determined in order to fashion
    an appropriate equitable remedy and provide equitable relief for the benefit
    of the Percy Class.
                                             6
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 7 of 12 PageID #: 202




                         VI.    JUDICIAL ECONOMY
25. This action avoids the prosecution of separate actions by multiplicity of
    actions involving the same individual members of the Percy Class and the
    same Owners which would create a likelihood of inconsistent or varying
    adjudications with respect to individual members of the Percy Class.
26. The Defendant Government Agencies, individually and collectively, alone
    and in concert with other still unidentified parties, cloaking themselves
    under the color of law, utilized and are still utilizing all the power of their
    government offices, in capricious and conspiratorial disregard to deny and
    to inflict damages on the Percy Class without justification. The Percy Class
    has been denied and deprived of an opportunity to compete effectively
    within the American free enterprise system and as a result the members of
    the Percy Class have sustained serious and ongoing damages, and if the
    wrongdoing of the Defendants is not enjoined and prevented, the chronic
    damage will continue unabated.
           VII.    AS AND FOR A FIRST CAUSE OF ACTION
27. The Plaintiffs repeat and reiterate the allegations set forth above as though
    fully set forth herein.
28. The Percy Program (paragraphs 241 – 274, paragraphs 275 – 276, and
    paragraph 275 – 280 of Exhibit “A” prepared for filing in EDNY), presented
    as the Alternative Employment Practice, is delivered as a function of safety
    and training with workers’ compensation under the covered payroll. The
    Percy Program is an Alternative Employment Practice, an element of a
    workers’ compensation coverage. Apprenticeship is a function of safety
    training and loss control management of workers’ compensation insurance,
    apprentices recruited and sponsored through employment or provided
    through a subcontract with apprentice training under the National
    Apprenticeship Act of 1937 occurring by three methods: (1) coordinated with
    joint apprenticeship labor-management counsel involving unions, (2) by
    sponsorship by an employer, or (3) by sponsorship by a trade association.
29. All employment is required to be covered by workers' compensation. Along
    with the payment of benefits to cover injury and death while on-the-job as
    required in under New York Workers' Compensation Law §10, This

                                             7
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 8 of 12 PageID #: 203




   Alternative Employment Practice of apprentice training is covered as part of
   workers’ compensation coverage as registered apprenticeship with risk-
   management, safety training and loss control.
30. The Plaintiff is able to meet its burden of production and persuasion proving
    that there was a less discriminatory alternative method of employment
    practice available that the Employer could have adopted, failing to adopt the
    Alternative Employment Practice without valid justification is an unlawful
    employment practice violating 42 U.S.C. § 2000e-2(k)(1)(A)(ii) and
    (k)(1)(C) of the Civil Rights Act of 1964 as amended in 1991.
31. The Alternative Employment Practice answers the need for the Percy Class
    to obtain competitive skills by utilizing registered apprenticeship meeting
    the requirements of the Fitzgerald Act (29 U.S.C. § 50 commonly known as
    the National Apprenticeship Act of 1937, section 1 (29 U.S.C. 50) under U.S.
    Department of Labor's Office of Apprenticeship and Training (BAT) and 29
    C.F.R, Subt. A, Pt. 29 and Pt. 30. Apprenticeship is the process of learning a
    skilled occupation through both on-the-job training (practical, paid
    experience) and learning the related technical knowledge in a classroom.
    Candidates must be 18 years old and possess a GED (the Alternative
    Employment Practice will help a candidate obtain a GED). Enrollment must
    be done openly under the procedures established by federal and state
    regulations for Minimum Qualifications Review and Eligibility List Ranking
    using for: educational achievement, work experience, seniority, job
    aptitude, oral interview, and general demographic inquiries to determine a
    score for ranking for eligibility to be enrolled in OJT and continuing
    education.
32. Plaintiff Percy and the Class he represents are entitled to injunctive relief as
    demanded and actual damages for lost wages, for lost opportunity and
    compensation as money damages for the families of the members of the
    Percy Class, their children growing up in poverty, significantly
    disadvantaged in education and skills, struggling to get a job, entitled to
    compensation as money damages to be determined at trial in this litigation.
33. The members of the Percy Class have been and are ready, willing and able
    to work, persistently wanting to work, but have been constantly deprived
    and denied work, damaging the members of the Percy Class, and damaging
                                           8
    Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 9 of 12 PageID #: 204




   the families of the members of the Percy Class, their children growing up in
   poverty, significantly disadvantaged in education and skills, struggling to
   get a job, in an amount to be determined at trial.
        VIII.     AS AND FOR A SECOND CAUSE OF ACTION
34. Upon information and belief, Defendant has accepted Federal funding
    containing conditions of compliance with Civil Rights Act of 1964 and EO
    11246.
35. Government Agencies set forth in Exhibit “A” are charged with enforcing EO
    11246 and laws as contractual conditions to Federal Funds for public work
    facilities, and are therefore liable for the foregoing lost wages, lost benefits
    and lost opportunity to which the Percy Class is entitled as intended
    beneficiaries.
36. EO 11246 seeks to implement the anti-discrimination program of the Civil
    Rights Act of 1964 and is directed at all government contractors. Section 2
    02(1) of the Order provides: “The contractor will take affirmative action to
    ensure equal employment opportunity. Such action shall include but not be
    limited to the following: employment upgrading, demotion or transfer;
    recruitment or recruitment advertising; layoff or termination; rates of pay
    or other forms of compensation; and selection for training, including
    apprenticeship”, 30 Fed. Reg. 12, 319 (1965), the "color blind" approach
    envisioned in EO 11246. 26. §202(1) of EO 11246, 30 Fed. Reg. 12, 319(1965),
    provides that: The contractor will not discriminate against any employee or
    applicant for employment because of race, color, religion, sex, or national
    origin. The contractor will take affirmative action to ensure that applicants
    are employed, and that employees are treated during employment, without
    regard to their race, color, religion, sex, or national origin. Such action shall
    include but not be limited to the following: employment upgrading,
    demotion or transfer; recruitment or recruitment advertising; layoff or
    termination; rates of pay or other forms of compensation; and selection for
    training, including apprenticeship.
37. The necessary elements of a prima facie cause of action for violation of 42
    U.S.C. §2000e-2 exists, depriving rights thereunder, secured to the Percy
    Class as the Complaining Party by the 5th and 14th Amendments to the

                                              9
   Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 10 of 12 PageID #: 205




   United States Constitution, 42 U.S.C. §§§ 1981, 1983, 1985, and such
   Employer has breached contractual conditions requiring compliance with
   Presidential Executive Order 11246 (“EO 11246).
38. The Employer has ignored the mandate of United States EO 11246, as well
    as several other federal regulations specifically identified in the contract,
    causing and continuing to cause disparate impact discrimination that these
    statutes, orders, and regulations were designed to remedy.
39. Plaintiff Percy and the Class he represents are entitled to injunctive relief
    and actual damages for lost wages, for lost opportunity and compensation
    as money damages for the families of the members of the Percy Class, their
    children growing up in poverty, significantly disadvantaged in education
    and skills, struggling to get a job, entitled to compensation as money
    damages to be determined at trial in this litigation.
                                  IX.    RELIEF
         Plaintiffs collectively pray that this Court:
        Declare that there must be compliance with EO 11246 and damages
   must be stopped and rectified;
         Award Plaintiffs actual damages for lost wages and benefits and lost
   opportunity damages to the Percy Class and damaging the families of the
   members of the Percy Class, their children growing up in poverty,
   significantly disadvantaged in education and skills, struggling to get a job,
   in an amount to be determined at trial;
         Award Plaintiffs liquidated damages to be determined;
         Award Plaintiffs pre- and post-judgment interest at the statutory rate;
         Award Plaintiffs attorneys' fees, expert fees, costs, and disbursements;
   and
        Award Plaintiffs further and additional relief as this Court deems just
   and proper.
        All together with such other and further relief as shall seem just and
   proper under the circumstances.
         Pursuant to Fed. R. Civ. P. 39, demand is made for trial by

                                             10
Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 11 of 12 PageID #: 206




jury on all the issues so triable.
     Dated: December 17, 2020
                                       /s/James M. Kernan__
                                       KERNAN PROFESSIONAL
                                       GROUP, LLP
                                       James M. Kernan, Esq., of Counsel
                                       Bar Role # JK1242

                                       26 Broadway, 19th Floor,
                                       New York, New York 10004
                                       Phone:(212) 697-9084
                                       Fax (212) 656-1213
                                       jkernan@kernanllp.com




                                       11
Case 1:20-cv-06131-NGG Document 1 Filed 12/17/20 Page 12 of 12 PageID #: 207




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NEW YORK

    ALBERT E. PERCY as Class Representative and
    Percy Jobs and Careers Corporation an IRC
    501(c)(3) non-profit,
                      Plaintiff,
                                                          CORPORATE
    -against-                                             DISCLOSURE
                                                          STATEMENT
    ORISKA CORP GENERAL CONTRACTING,                      CASE NO.
                      Employer Defendant                  



      Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Percy
Jobs and Careers Corporation, and the undersigned counsel for Percy Jobs
and Careers Corporation, (“PJCC”) certifies that there are no parent
corporations or publicly-held corporations owning 10% or more of PJCC’s
common stock.


     Dated: December 17, 2020
                                       /s/James M. Kernan__
                                       KERNAN PROFESSIONAL
                                       GROUP, LLP
                                       James M. Kernan, Esq., of Counsel
                                       Bar Role # JK1242
                                       26 Broadway, 19th Floor,
                                       New York, New York 10004
                                       Phone:(212) 697-9084
                                       Fax (212) 656-1213
                                       jkernan@kernanllp.com




                                        1
